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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


RICHARD ALCALAR; GREG EVANS;                                §      DCKT NO. ______________
and of similarly situated individuals;                      §
                                                            §
       Plaintiff,                                           §      JURY TRIAL DEMANDED
                                                            §
       -vs-                                                 §
                                                            §      COLLECTIVE ACTION
WELDCO INDUSTRIAL, INC.;                                    §
ARMONDO BADILLO                                             §      PURSUANT TO 29 U.S.C.
                                                            §      §216(b)
       Defendant.                                           §

______________________________________________________________________________

                PLAINTIFFS’ COMPLAINT – COLLECTIVE ACTION
______________________________________________________________________________

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       NOW COMES RICHARD ALCALAR and GREG EVANS, by and through their attorneys

The Estes Law Firm, P.C., individually and on behalf of all others similarly situated individuals,

and files this, their Complaint against Defendants as follows:

                           I. COLLECTIVE ACTION COMPLAINT

   1. This is a collective action pursuant 29 U.S.C. §216(b) brought by Plaintiffs’ Richard

Alcalar and Greg Evans (hereinafter “Plaintiffs”), on behalf of themselves and all other similarly

situated, which arises from Defendants’ Weldco Industrial Inc.’s and Armondo Badillo’s

(hereinafter “Defendants”) willful violations of the federal Fair Labor Standards Act (hereinafter

“FLSA”), 29 U.S.C. §201, et seq. and the Texas Labor Code, Chapters 61 and 62, for

misclassification as independent contractors, failure to pay overtime premium wages, failure to

pay all wages due upon separation from employment, failure to provide itemized earnings
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statements, and failure to pay minimum wage for all time worked by providing a bona fide meal

period.

   2. All statements are made upon information and belief.

   3. Plaintiff Richard Alcalar worked for Defendants as a mechanic and welder within the last

two years and was regarded as an independent contractor but was properly a non-exempt employee

under the FLSA and Texas Labor Code.

   4. Plaintiff Greg Evans worked for Defendants as a mechanic and welder within the last two

years and was regarded as an independent contractor but was properly a non-exempt employee

under the FLSA and Texas Labor Code.

   5. Defendant WeldCo Industrial, Inc. employed Plaintiffs to perform work for Defendants.

   6. Defendant Armondo Badillo supervised and directed plaintiffs in their day-to-day job

duties and exercised control over the nature and structure of the employment relationship or

exercised economic control over the relationship, and is therefore deemed an employer within the

meaning of the FLSA, and therefore subject to liability.

   7. Plaintiffs’ were paid on an hourly basis but were only paid straight time, they never

received an overtime premium in violation of 29 U.S.C. §207.

   8. Defendants violated Texas Labor Code §61.014 by failing to pay Plaintiffs’ in full not later

than the sixth day after the date the employee was discharged or the next regularly scheduled

payday if the employee left employment other than by discharge.

   9. Defendants violated Texas Labor Code §62.003 by failing to give Plaintiffs’ and others

similarly situated, proper earning statements.




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    10. Defendants’ violated 29 U.S.C. §206 and 29 CFR §785.19 by deducting an hour of pay

from Plaintiffs’ wages for a meal break which was not bona fide as Plaintiffs’ were not relieved of

all duty.

    11. Plaintiff brings this claim under the FLSA and Texas Labor Code on behalf of all similarly

situated employees who may choose to opt into this action pursuant to 29 U.S.C. §216(b).

                               II. JURISDICTION AND VENUE

    12. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because Plaintiffs

have brought a claim pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

    13. Venue is proper in this Court because the Plaintiff resides within this judicial district and

because all or a substantial part of the events or omissions giving rise to Plaintiff’s claim occurred

within this District.

                                           III.    PARTIES

    14. Plaintiff Richard Alcalar is an individual and resident of Houston, Texas. Plaintiff worked

for Defendants as a mechanic and welder at various times during the class period.

    15. Plaintiff Greg Evans is an individual and resident of Houston, Texas. Plaintiff worked for

Defendants as a mechanic and welder at various times during the class period.

    16. Defendant Weldco Industrial, Inc. is a domestic corporation doing business in Texas. It

may be served at its registered agent Sandra Badillo, 5211 FM 2218, Richmond, Texas 77469.

    17. Defendant Armondo Badillo is an individual who is or was an officer or director of Weldco

Industrial, Inc. and may be served at 5211 FM 2218, Richmond, Texas 77469. Defendant

Armondo Badillo exercised control over the nature and structure of the employment relationship

or exercised economic control over the relationship and is therefore deemed an employer within

the meaning of the FLSA and is therefore subject to liability.

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                                 IV.     STATEMENT OF FACTS

   18. All statements are made upon information and belief.

   19. Plaintiffs’ worked as mechanics and welders for the Defendants within the last two years.

   20. Plaintiffs’ would routinely work more than 40 hours per week.

   21. Plaintiffs’ were paid as independent contractors and received an hourly rate but never

received an overtime premium.

   22. During this time, Plaintiffs’ worked exclusively for Defendants.

   23. Defendants’ set Plaintiffs hours and directed the course and scope of their work.

   24. Plaintiffs’ had no authority or ability to refuse to perform the work Defendants directed

them to do.

   25. Plaintiffs’ received earnings statements that failed to provide them all of the required

information including the name of the employee, the rate of pay, the total amount of pay earned

by the employee during the pay period; any deductions made from the employee’s pay and the

purpose of the deduction; the amount of pay after all deductions are made; and the total of either

the hours worked by employee or units produced by the employee during the pay period.

   26. Plaintiffs’ have all separated from employment but were not paid all of the wages they

were due within the time period required by law.

   27. Plaintiffs’ had their wages reduced by one hour each day, during which time they were

expected to take their meal break. These meal breaks routinely lasted less than one hour and

plaintiffs were always on duty or on call and therefore were not relieved of all duty.

                         VI.  FIRST CAUSE OF ACTION
                 VIOLATION OF THE FAIR LABOR STANDARDS ACT
                             Failure to Pay Overtime

   28. Plaintiffs’ incorporate herein all previously stated allegations.

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   29. Pursuant to the Fair Labor Standards Act, 29 U.S.C. §207(a)(1), an employer must pay an

employee overtime at a rate not less than one and a half (1.5) times the employee’s regular rate of

pay for all hours worked in excess of forty hours per week.

   30. Plaintiffs’ regularly worked in excess of forty hours per week but were not paid any

overtime premium for hours worked in excess of forty hours per week.

   31. Defendants knowingly, intentionally, and willfully failed to pay Plaintiffs’ overtime

premium pay for hours worked in excess of forty hours per week.

   32. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs’ have

suffered, and will continue to suffer, lost wages and other damages.

   33. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                           VII.      SECOND CAUSE OF ACTION
                   VIOLATION OF THE FAIR LABOR STANDARDS ACT
          Failure to Pay for All Hours Worked by Providing a Bona Fide Meal Break

   34. Plaintiffs’ incorporate herein all previously stated allegations.

   35. Pursuant to the Fair Labor Standards Act, 29 U.S.C. 206(a), Defendants’ must pay each of

their employees at least the federal minimum wage of $7.25/hour for any hours worked.

   36. Defendants’ deducted one hour of wages from Plaintiffs’ paychecks each day for their meal

break.

   37. Plaintiffs’ were always on call or on duty during their meal break and were routinely

ordered to return to work prior to the full hour being completed but their pay was always deducted

by a full hour for their meal break.

   38. Defendants’ did not provide Plaintiffs’ with a bona fide meal break as required under 29

CFR §785.19.

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   39. Defendants knowingly, intentionally, and willfully failed to pay Plaintiffs’ at least the

federal minimum wage for all time worked.

   40. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs’ have

suffered, and will continue to suffer, lost wages and other damages.

   41. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                             VIII. THIRD CAUSE OF ACTION
                        VIOLATION OF THE TEXAS LABOR CODE
                        Failure to Provide Proper Earnings Statements

   42. Plaintiffs’ incorporate herein all previously stated allegations.

   43. Pursuant to Texas Labor Code §62.003, Defendants’ must provide Plaintiffs’ with an

earnings statement at the end of each pay period which provides all of the information required in

the statute, including but not limited to: the name of the employee, the rate of pay, the total amount

of pay earned by the employee during the pay period; any deductions made from the employee’s

pay and the purpose of the deduction; the amount of pay after all deductions are made; and the

total of either the hours worked by employee or units produced by the employee during the pay

period.

   44. Defendants’ failed to provide Plaintiffs’ with the required earnings statements.

   45. Defendants knowingly, intentionally, and willfully failed to provide Plaintiffs’ with the

required earnings statements.

   46. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs’ have

suffered, and will continue to suffer, lost wages and other damages.

   47. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

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                           IX.    FOURTH CAUSE OF ACTION
                        VIOLATION OF THE TEXAS LABOR CODE
              Failure to Pay All Wages Due Upon Separation from Employment

    48. Plaintiff incorporates herein all previously stated allegations.

    49. Pursuant to Texas Labor Code §61.014, Defendants’ must pay in full any employee who

is discharged from employment not later than the sixth day after the date the employee is

discharged; or must pay any employee in full who leaves employment other than by discharge, not

later than the next regularly scheduled payday.

    50. Plaintiffs’ have all left employment of Defendants and it has been more than 31 days.

    51. Defendants’ have not paid Plaintiffs’ all money they are due.

    52. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs have

suffered, and will continue to suffer, lost wages and other damages.

    53. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                                     VIII. JURY DEMAND

    54. Plaintiffs’, individually and on behalf of the putative class, demands a trial by jury for all

issues of fact.

                                   IX. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs’ Richard Alcalar and Greg Evans, on behalf of themselves

individually and on behalf of all other persons similarly situated, known and unknown, request

that this Court enter the following relief:

        a.        Permission for individuals throughout the State of Texas who performed work as

mechanics or welders for Defendants, who were not paid overtime premiums which they are owed,

who were not paid at least the federal minimum wage for all time worked , who were not provided

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proper earnings statements, or who were not paid all of their wages in full when due upon

separation from employment, to opt-in to this action pursuant to §216(b) of the FLSA;

       b.     Judgement that the Defendants’ conduct was willful;

       c.     All damages to which the named Plaintiff and class members may be entitled;

       d.     Liquidated and multiple damages as allowed by law, including double damaged

under the FLSA and Texas Labor Code;

       e.     Penalties as provided for under the FLSA including pursuant to Section 216 and

the Texas Labor Code;

       f.     An injunction prohibiting Defendants’ from further violations of the law as

described above;

       g.     Pre and post judgment interest;

       h.     Attorney’s fees and costs; and

       i.     Any other relief to which Plaintiff and class members may be entitled.



Dated: March 20, 2020

                                            Respectfully submitted,

                                            /s/ John Cruickshank
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                                            john@cruickshank.attorney
                                            Texas Bar No. 24045730
                                            Federal Bar No. 910674
                                            joshuaestes@estespc.net
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                 Exhibit A




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                             CONSENT TO JOIN COLLECTIVE ACTION
                 Pursuant to Fair Labor Standards Act 29 U.S.C. Section 216(b)


   1. I was employed by Defendants and performed work on their behalf. I consent and agree to
      pursue my claims in a lawsuit arising out of my employment.
   2. During the time I worked for Defendants, I routinely worked more than forty hours in certain
      weeks. I have not been paid overtime (time-and-a-half) for these hours.
   3. I understand that the lawsuit will be brought under the Fair Labor Standards Act, 29 U.S.C.
      Section 201, et seq. I hereby consent, agree, and “opt in” to become a plaintiff herein and to be
      bound by any judgment by the Court or any settlement of this action.
   4. I hereby designated The Estes Law Firm, P.C., Josh Estes, Esq. and John Cruickshank, Esq. and
      any additional counsel they may associate with, to represent me for all purposes in this action.




Signature:     _______________________                         Date: 3/18/2020
                                                                     ______________



Print Name:    _______________________
                Richard Alacalar
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                             CONSENT TO JOIN COLLECTIVE ACTION
                 Pursuant to Fair Labor Standards Act 29 U.S.C. Section 216(b)


   1. I was employed by Defendants and performed work on their behalf. I consent and agree to
      pursue my claims in a lawsuit arising out of my employment.
   2. During the time I worked for Defendants, I routinely worked more than forty hours in certain
      weeks. I have not been paid overtime (time-and-a-half) for these hours.
   3. I understand that the lawsuit will be brought under the Fair Labor Standards Act, 29 U.S.C.
      Section 201, et seq. I hereby consent, agree, and “opt in” to become a plaintiff herein and to be
      bound by any judgment by the Court or any settlement of this action.
   4. I hereby designated The Estes Law Firm, P.C., Josh Estes, Esq. and John Cruickshank, Esq. and
      any additional counsel they may associate with, to represent me for all purposes in this action.




Signature:     _______________________                         Date: 3/20/2020
                                                                     ______________



Print Name:    _______________________
              Greg  Evans
